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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-737 (CJN)
         v.                                   :
                                              :
JEFFREY WILLIAM HUBBARD,                      :
                                              :
                 Defendant                    :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Jeffrey Hubbard to 45 days’ incarceration, 36 months’ probation, 60

hours of community service, $500 in restitution, and the mandatory $10 special assessment.

    I.        Introduction

         Defendant Jeffrey Hubbard, a 47-year-old Army veteran, participated in the January 6,

2021 attack on the United States Capitol—a violent attack that forced an interruption of Congress’s

certification of the 2020 Electoral College vote count, threatened the peaceful transfer of power

after the 2020 Presidential election, injured more than one hundred police officers, and resulted in

more than 2.8 million dollars’ in losses. 1

         Defendant Hubbard pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G).

As explained herein, a sentence of 45 days’ jail, 36 months’ probation, 60 hours of community


1
  Although the Statement of Offense in this matter, filed on November 17, 2022, (ECF No. 24 at
¶ 8) reflects a sum of more than $1.4 million dollars for repairs, as of October 17, 2022, the
approximate losses suffered as a result of the siege at the United States Capitol was $2,881,360.20.
That amount reflects, among other things, damage to the United States Capitol building and
grounds and certain costs borne by the United States Capitol Police.


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service, $500 restitution, and the mandatory $10 special assessment, is appropriate in this case

because of Hubbard’s aggressive conduct toward police, his threat to engage police in physical

violence, his repeated disobedience of police commands, and his lack of remorse. During the near

hour that Hubbard spent inside the United States Capitol on January 6, he repeatedly positioned

himself at the vanguard of rioters who violently attacked police officers. Indeed, after witnessing

several violent skirmishes between rioters and police inside the Crypt and the Statuary Hall

Connector, Hubbard maneuvered himself to the front of a melee inside the Rotunda and threatened

to fight officers there. As a result of this threat and his proximity to the front lines, Hubbard was

ultimately pepper sprayed in the face. Hubbard knew his presence inside the Capitol was unlawful.

After all, he climbed through a shattered window next to the Senate Wing Door to enter the

building. But it took getting pepper sprayed in the face to finally force Hubbard to leave.

         The Court must also consider that Hubbard’s conduct on January 6, like the conduct of

hundreds of other rioters, took place in the context of a large and violent riot that relied on numbers

to both overwhelm police officers trying to prevent a breach of the Capitol and disrupt the

proceedings. Here, the facts of and circumstances of Hubbard’s crime support a sentence of 45

days’ incarceration and 36 months’ probation in this case.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF 24 (Statement of Offense), ¶¶ 3-9.

             Defendant Hubbard’s Role in the January 6, 2021 Attack on the Capitol

         Between January 1 and January 6, 2021, Hubbard traveled from Lincoln City, Oregon to

Washington D.C. to attend the “Stop the Steal” rally. He entered the Capitol building through a



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shattered window next to the Senate Wing door at approximately 2:22 p.m., just nine minutes after

rioters wielding weapons and stolen riot shields violently broke into that entrance.




     Image 1: Hubbard enters the Capitol building by jumping through a shattered window

        After briefly walking north, Hubbard turned around, walked back past the Senate Wing

door, and entered the Crypt. There, rioters were clashing with police, who were trying to prevent

the mob from overtaking the building. The rioters eventually surged past the vastly outnumbered

police, enabling Hubbard to further penetrate the building and walk upstairs to the Rotunda.

       Hubbard entered the Rotunda at approximately 2:25 p.m., and then walked south through

Statuary Hall at approximately 2:28 p.m. There, he stopped to take photographs, which were not

recovered from his phone. 2




2
 Hubbard’s phone does not appear to contain content from January 6, 2021. It is not clear whether
Hubbard deleted this content or replaced his phone, but during the investigation, an acquaintance
of Hubbard’s informed FBI that Hubbard claimed to have cancelled his phone and started using
burner phones.
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         At 2:31 p.m., Hubbard entered the Statuary Hall Connector – the hallway that connects

Statuary Hall to the main entrance of the House Chamber. Several police officers were stationed

at the end of the hallway to prevent rioters from reaching the House Chamber. As rioters filled

the hallway, Hubbard jostled his way to the front lines as he joined the crowd in shouting “Stop

the Steal.” The rioters on the front lines were accosting police and threatening to inflict injury,

warning them that the officers downstairs had been injured, and shouting “Y’all are putting

yourselves in harm’s way,” and “You just gotta stand down.” See Exhibit A at 20:50-21:50. 3

Directly in front of Hubbard, rioters were holding a wooden flagpole horizontally and using it

force back the police. Id. at 25:50- 26:30.




     Image 2: Hubbard standing at the front lines of a violent clash between rioters and officers
                                   outside the House Chamber
         After forcibly breaching the police line, rioters began to flood the hallways surrounding

the House Chamber. Hubbard and the mob pushed forward, past police, and approached the main

entrance to the House Chamber. There, Hubbard witnessed rioters attempt to violently break

through the House Chamber doors as they chanted, “Stop the Steal.” Id. at 26:40-27:40.


3
    The government’s sentencing exhibits have been uploaded and shared with the Court via USAfx.
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    Exhibit A at 27:42: Hubbard joins the mob attempting to break into the House Chamber


       Just beyond the chamber doors, members of the House of Representatives were lying on

the floor, donning escape hoods and gas masks as they sheltered in place. Police had barricaded

the doors with heavy wooden furniture, and they had their weapons drawn in case any rioters

breached the doors.




      Image 3: Police draw their weapons as rioters try to break into the House Chamber


       Hubbard lingered around the hallways surrounding the House Chamber for approximately

twenty minutes before returning to the Rotunda. During that time, police officers repeatedly

instructed rioters to leave. At some point, a white gas appeared to fill the hallway – yet another

sign to Hubbard and the rest of the rioters to leave the building. Hubbard ignored the white smoke

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and the police’s commands to leave. Instead, he tried to break into the House Chamber through a

different door.




    Image 4: Hubbard tries to break into the House chamber as white smoke fills the hallway
When he returned to the Rotunda at approximately 2:59 p.m., Hubbard could see a crowd of rioters

squaring off against uniformed police officers. Instead of leaving the Rotunda or exiting the

building, Hubbard chose to join the fray. As Hubbard maneuvered himself to the front of the mob,

police attempted to push him back with their batons. See Exhibit B, at 00:20. Again, Hubbard

refused to comply with police commands, and kept pushing forward. See Exhibit C, at 11:15-

(Open-source footage of the violent skirmish between police and rioters inside the Rotunda.

Hubbard’s bald head is visible at the bottom of the screen starting at approximately 11:30 of the

video).




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 Exhibit C at 12:01: Hubbard forcing his way to the front lines of the skirmish between officers
                               and rioters inside the Rotunda.




                  Exhibit B at 00:23: Hubbard disobeying police officers as he
                              forces his way to the front of the mob


Upon reaching the front lines at approximately 3:09 p.m., Hubbard braced his arms and readied

himself to fight. See Exhibit B at 00:27. He then shouted at the officers right before he was pepper

sprayed in the face. Id. at 00:26.


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           Exhibit B at 00:27: Hubbard preparing to fight police inside the Rotunda
       After being pepper sprayed, Hubbard clutched his face and knelt to the ground. Hubbard

was helped to his feet by police, who escorted him out of the melee. Hubbard immediately flushed

his eyes out with water, and ultimately exited the Capitol building at approximately 3:16 p.m.

through the East Rotunda Doors. Hubbard spent a total of 54 minutes inside the Capitol building.

                               The Charges and Plea Agreement

       On December 6, 2021, the United States charged Hubbard by criminal complaint with

violating 18 U.S.C. §§ 1752(a)(1) and (2) (Entering and Remaining and Disorderly and Disruptive

Conduct in a Restricted Building) and 40 U.S.C. §§ 5104(e)(2)(D) and (G) (Disorderly Conduct

and Parading, Demonstrating, or Picketing in a Capitol Building). ECF No. 1. On December 8,

2021, law enforcement officers arrested him at his home in Lincoln City, Oregon. ECF No. 5. On

December 15, 2021, the United States charged Hubbard by a four-count Information with violating

18 U.S.C. §§ 1752(a)(1) and (2), and 40 U.S.C. §§ 5104(e)(2)(D) and (G). ECF No. 8. On

November 17, 2022, pursuant to a plea agreement, Hubbard pleaded guilty to Count Four of the




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Information, charging him with a violation of 40 U.S.C. § 5104(e)(2)(G). ECF No. 23. By plea

agreement, Defendant agreed to pay $500 in restitution to the Department of the Treasury. Id.

   III.      Statutory Penalties

          Hubbard now faces sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G):

Parading, Demonstrating, or Picketing in a Capitol Building. As noted by the plea agreement and

the U.S. Probation Office, the defendant faces up to six months of imprisonment and a fine of up

to $5,000. The defendant must also pay restitution under the terms of his plea agreement. See 18

U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008). As this

offense is a Class B Misdemeanor, the Sentencing Guidelines do not apply to it. 18 U.S.C. § 3559;

U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors         weigh in favor of a sentence of 45 days’

imprisonment and 36 months’ probation.

             A. The Nature and Circumstances of the Offense

          The attack on the U.S. Capitol on January 6 posed “a grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds



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of federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing Hubbard’s

participation in that attack to fashion a just sentence, this Court should consider various

aggravating and mitigating factors. Notably, for a misdemeanor defendant like Hubbard, the

absence of violent or destructive acts is not a mitigating factor. Had Hubbard engaged in such

conduct, he would have faced additional criminal charges.

       Hubbard actively encouraged violence against the police on January 6. Not only did he

repeatedly position himself at the vanguard of the mob, but he also shouted at police and, at one

point, attempted to fight them. Through his actions, Hubbard emboldened those around him to

disobey police commands and further encroach on the police line. Moreover, the fact that Hubbard

was pepper sprayed directly in his face shows just how close he got to police line and the threat

that he posed to officers.

       In his 54 minutes inside the Capitol, Hubbard witnessed at least three violent standoffs

between rioters and police. If climbing through a shattered window wasn’t enough of a sign that

Hubbard should not have entered the Capitol building, then surely witnessing rioters use flagpoles

to attack police officers should have been. But for Hubbard, it took getting pepper sprayed in the

face to force him to finally leave the Capitol building.

       Hubbard was not a passive observer, nor was he simply swept up with the crowd. He had

plenty of time to rethink his actions and exit the building. He did not discourage violence against

police, as some other rioters did; he embraced it. Accordingly, the nature and the circumstances

of this offense establish the clear need for a sentence of 45 days’ incarceration in this matter.




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           B. The History and Characteristics of Hubbard

       As an Army veteran who served in combat zones in Kuwait and Iraq between 2005 and

2006, Hubbard should have known better than to enter the U.S. Capitol on January 6 and

willfully disobey police commands. PSR ¶¶ 45-46. Given his training and experience, he was

acutely aware of how threatening his and other rioters’ presence inside the Capitol building was

for police and lawmakers. Yet he repeatedly positioned himself at the forefront of violent

confrontations between rioters and officers, and at one point threatened to fight an officer. This

is particularly troublesome conduct for someone who swore an oath to support and defend the

Constitution.

       Hubbard also has a prior conviction for operating impaired, for which he was sentenced

to nine months’ probation. Id. ¶ 24. Hubbard is not employed, but collects over $5,000 in

disability benefits per month. Id. ¶¶ 47-51.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I

don’t think anyone should start off in these cases with any presumption of probation. I think the

presumption should be that these offenses were an attack on our democracy and that jail time is

usually – should be expected”) (statement of Judge Hogan).

           D. The Need for the Sentence to Afford Adequate Deterrence

       Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

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defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

         General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President.

         The gravity of these offenses demands deterrence. See United States v. Mariposa Castro,

1:21-cr-00299 (RBW), Tr. 2/23/2022 at 41-42 (“But the concern I have is what message did you

send to others? Because unfortunately there are a lot of people out here who have the same mindset

that existed on January 6th that caused those events to occur. And if people start to get the

impression that you can do what happened on January 6th, you can associate yourself with that

behavior and that there’s no real consequence, then people will say why not do it again.”). This

was not a protest. See United States v. Paul Hodgkins, 21-cr-188-RDM, Tr. At 46 (“I don’t think

that any plausible argument can be made defending what happened in the Capitol on January 6th

as the exercise of First Amendment rights.”) (statement of Judge Moss). And it is important to

convey to future potential rioters—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater factor

that this Court must consider.



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         Specific Deterrence

         Unemployed and with limited community involvement, Hubbard does not appear to have

in place the guardrails that would prevent him from engaging in political violence in the future.

While he does have several serious medical conditions, those conditions existed before January

6, 2021, and they did not affect his ability to vault himself through a shattered window or engage

in vigorous physical resistance against police officers for approximately an hour.

         Moreover, in messages recovered from Hubbard’s phone, Hubbard appeared to suggest

that weaponry was needed to handle the presence of groups he disagreed with politically. For

example, in January 2016, in response to one of his contacts saying that Muslims had been

plotting to impose Sharia law in America, Hubbard wrote: “That is why it’s important to buy

guns and pay for ammo with cash. Trump 2016.” According to one of Hubbard’s associates, in

the months following January 6, 2021, Hubbard purchased ammo and a rifle, and stored guns

inside his truck. This purchase happened a few months after an October 21, 2020 text message

to a friend, in which Hubbard commented: “This is why Muslims need to go back where they are

from.”

         A sentence of 45 days’ imprisonment will reinforce to Hubbard the impact that his

actions had on this country and the consequences of political violence.

            E. The Need to Avoid Unwarranted Sentencing Disparities

         As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 4 This


4
   Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities.

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Court must sentence Hubbard based on his own conduct and relevant characteristics, but should

give substantial weight to the context of his unlawful conduct: his participation in the January 6

riot.

        Hubbard has pleaded guilty to Count Four of the Information, charging him with Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G). This

offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C misdemeanors and

infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing Guidelines do not apply,

U.S.S.G. § 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a), including “the need to

avoid unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct,” 18 U.S.C. § 3553(6), do apply, however.

        Section 3553(a)(6) of Title 18 directs a sentencing court to “consider . . . the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” Section 3553(a)(6) does not limit the sentencing court’s broad

discretion under 18 U.S.C. § 3553(a) “to impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph (2) of this subsection.” 18 U.S.C.

§ 3553(a). Although unwarranted disparities may “result when the court relies on things like

alienage, race, and sex to differentiate sentence terms,” a sentencing disparity between defendants

whose differences arise from “legitimate considerations” such as a “difference[] in types of

charges” is not unwarranted. United States v. Bridgewater, 950 F.3d 928, 936 (7th Cir. 2020).

        “Congress’s primary goal in enacting § 3553(a)(6) was to promote national uniformity in

sentencing rather than uniformity among co-defendants in the same case.” United States v. Parker,

462 F.3d 273, 277 (3d Cir. 2006). “[A] defendant cannot rely upon § 3553(a)(6) to seek a reduced

sentence designed to lessen disparity between co-defendants’ sentences.” Consequently, Section



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3553(a)(6) neither prohibits nor requires a sentencing court “to consider sentencing disparity

among codefendants.” Id. Plainly, if Section 3553(a)(6) is not intended to establish sentencing

uniformity among codefendants, it cannot require uniformity among all Capitol siege defendants

charged with petty offenses, as they share fewer similarities in their offense conduct than

codefendants do. See United States v. Smocks, D.D.C. 21-cr-198 (TSC), Sent. Tr. at 48-49 (“With

regard to the need to avoid sentence disparity, I find that this is a factor, although I have found in

the past and I find here that the crimes that occurred on January 6 are so unusual and unprecedented

that it is very difficult to find a proper basis for disparity.”) (statement of Judge Chutkan).

       Cases involving convictions only for Class B misdemeanors (petty offenses) are not subject

to the Sentencing Guidelines, so the Section 3553(a) factors take on greater prominence in those

cases. Sentencing judges and parties have tended to rely on other Capitol siege petty offense cases

as the closest “comparators” when assessing unwarranted disparity. But nothing in Section

3553(a)(6) requires a court to mechanically conform a sentence to those imposed in previous cases,

even those involving similar criminal conduct and defendant’s records. After all, the goal of

minimizing unwarranted sentencing disparities in Section 3553(a)(6) is “only one of several

factors that must be weighted and balanced,” and the degree of weight is “firmly committed to the

discretion of the sentencing judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012).

The “open-ended” nature of the Section 3553(a) factors means that “different district courts may

have distinct sentencing philosophies and may emphasize and weigh the individual § 3553(a)

factors differently; and every sentencing decision involves its own set of facts and circumstances

regarding the offense and the offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C.

Cir. 2008). “[D]ifferent district courts can and will sentence differently—differently from the

Sentencing Guidelines range, differently from the sentence an appellate court might have imposed,



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and differently from how other district courts might have sentenced that defendant.” Id. at 1095.

It follows that a sentencing court in a Capitol siege petty offense case is not constrained by

sentences previously imposed in other such cases. See United States v. Stotts, D.D.C. 21-cr-272

(TJK), Nov. 9, 2021 Sent. Hrg. Tr. at 33-34 (“I certainly have studied closely, to say the least, the

sentencings that have been handed out by my colleagues. And as your attorney has pointed out,

you know, maybe, perhaps not surprisingly, judges have taken different approaches to folks that

are roughly in your shoes.”) (statement of Judge Kelly).

       Additionally, logic dictates that whether a sentence creates a disparity that is unwarranted

is largely a function of the degree of the disparity. Differences in sentences measured in a few

months are less likely to cause an unwarranted disparity than differences measured in years. For

that reason, a permissible sentence imposed for a petty offense is unlikely to cause an unwarranted

disparity given the narrow range of permissible sentences. The statutory range of for a petty

offense is zero to six months. Given that narrow range, a sentence of six months, at the top of the

statutory range, will not create an unwarranted disparity with a sentence of probation only, at the

bottom. See United States v. Servisto, D.D.C. 21-cr-320 (ABJ), Dec. 15, 2021 Sent. Hrg. Tr. at

23-24 (“The government is trying to ensure that the sentences reflect where the defendant falls on

the spectrum of individuals arrested in connection with this offense. And that’s largely been

accomplished already by offering a misdemeanor plea, which reduces your exposure

substantially.”) (statement of Judge Berman Jackson); United States v. Dresch, D.D.C. 21-cr-71

(ABJ), Aug. 4, 2021 Sent. Hrg. Tr. at 34 (“Ensuring that the sentence fairly reflects where this

individual defendant falls on the spectrum of individuals arrested in connection with the offense

has largely been accomplished by the offer of the misdemeanor plea because it reduces his




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exposure substantially and appropriately.”) (statement of Judge Berman Jackson); United States v.

Peterson, D.D.C. 21-cr-309, Sent. Hrg. Tr. at 26 (statement of Judge Berman Jackson) (similar).

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the sentences in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.       This Court has now sentenced several

misdemeanor defendants who were convicted of Parading, Demonstrating, or Picketing in a

Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G). Within the spectrum of conduct that

this Court has evaluated, Hubbard’s conduct falls somewhere in the middle. For example, Hubbard

traveled a similar path inside the Capitol as Clifford Meteer. See United States v. Clifford Meter,

Case No. 1:21-cr-00630-CJN, ECF No. 31 (Gov’t Sentencing Memorandum). Unlike Meteer,

however, Hubbard did not leave the building when instructed. Instead, he escalated his behavior

by threatening to fight officers inside the Crypt. Also, unlike Meteer, Hubbard was aggressive

toward police and repeatedly confronted them. That said, there are mitigating factors that

distinguish Hubbard from Meteer, including his comparatively modest criminal history, and his

lack of social media braggadocio about the events of January 6. This Court sentenced Meteer to

two months in jail and 36 months’ probation.

       Consider, also, defendant Bradley Rukstales, whom this Court sentenced to thirty days’

imprisonment. See United States v. Bradley Rukstales, Case No. 1:12-cr-00041-CJN-5, ECF No.

140. Hubbard, like Rukstales, was aggressive toward law enforcement when he approached the

police line inside the Crypt and attempted to fight officers. Like Rukstales, Hubbard chose to

insert himself into the thick of the chaos instead of complying with officers’ commands to leave.



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As with Rukstales, officers had to exert considerable force to get Hubbard to leave, including by

pepper spraying him directly in the face. Unlike Rukstales, however, Hubbard did not issue any

public statements of apology and has not yet expressed remorse for his actions. This Court

sentenced Rukstales to 30 days’ incarceration. Id. ECF No. 140.

       Hubbard’s conduct is also more troublesome than those defendants who received shorter

terms of incarceration or home detention. Compared to Suzanne Ianni, for example, Hubbard was

much more aggressive and confrontational with police. See United States v. Suzanne Ianni, Case

No. 1:21-cr-00451-CJN (sentenced to 15 days in jail and 30 months’ probation for a violation of

40 U.S.C. § 5104€(2)(D), Disorderly Conduct in a Capitol Building). Hubbard also spent over

twice as much time inside the Capitol as Ianni, and participated in not one, but at least two violent

clashes against police.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an




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appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. 5

    V.      Conclusion

         Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Defendant to 45 days’ incarceration,

36 months’ probation, 60 hours of community service, and $500 in restitution, and the mandatory

$10 special assessment. Such a sentence protects the community, promotes respect for the law,



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  Numerous judges of this Court have concluded that a sentencing court in a case involving a
violation of a Class B misdemeanor under 40 U.S.C. § 5104 may impose a “split sentence” – a
period of incarceration followed by a period of probation – for defendants convicted of federal
petty offenses. See, e.g., 18 U.S.C. § 3561(a)(3); see, e.g., United States v. Little, 21-cr-315 (RCL),
2022 WL 768685, at *1 (D.D.C. Mar. 14, 2022) (concluding that “a split sentence is permissible
under law and warranted by the circumstances of this case”); see generally Appellee’s Brief for the
United States, United States v. Little, No. 22-3018 (D.C.) (filed Aug. 29, 2022). Approximately
nine judges of this district have authorized and imposed such split sentences pursuant to law. But
see United States v. Panayiotou, No. 22-CR-55 (DLF), 2023 WL 417953 (D.D.C. Jan. 25, 2023)
(holding that such sentences are impermissible under Section 3561(a)(3)).

        In the alternative, courts have also issued sentences under 18 U.S.C. § 3563(b)(1), which
authorize limited periods of intermittent confinement as a condition of probation. The courts have
consistently found that such a sentence is permissible for up to two weeks’ imprisonment served
in one continuous term. See, e.g., United States v. Mize, No. 97-40059, 1998 WL 160862, at *2
(D. Kan. Mar. 18, 1998) (quoting Section 3563(b)(10)’s legislative history in interpreting the term
to mean a “brief period of confinement, e.g., for a week or two, during a work or school vacation,”
described above and reversing magistrate’s sentence that included 30-day period of confinement
as a period condition of probation). To this end, at least four of the judges of this Court have
imposed sentences under §3563(b)(10). Indeed, a sentencing court may also impose multiple
intervals of imprisonment under §3563(b)(1). See United States v. Anderson, 787 F. Supp. 537,
539 (D. Md. 1992); Panayiotou, 2023 WL 417953, at *9 (“in a case in which the government
exercises its prosecutorial discretion to allow a defendant to enter a plea to a single petty
misdemeanor, it can request that a court impose a sentence of intermittent confinement as a
condition of probation.”) (citing 18 U.S.C. § 3563(b)). In this district, at least two judges have
similarly imposed multiple terms of imprisonment, to be served intermittently, consistent with this
subsection. Such sentences are particularly appealing in light of the fact that it has been nearly
three years since the World Health Organization first declared the COVID-19 outbreak a global
pandemic in March 2020, and over two years since the first COVID-19 vaccine was administered
in the United States in December 2020, allowing detention facilities to now more safely handle the
logistical and practical concerns associated with multiple stints of imprisonment.
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and deters future crime by imposing restrictions on his liberty as a consequence of his behavior,

while recognizing his acceptance of responsibility for his crime.

                                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       On this 3rd day of February, a copy of the foregoing was served upon all parties listed on
the Electronic Case Filing (ECF) System.

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